Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 1 of 10




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ
UNITED STATES OF AMERICA

     Plaintiff,
v.
1. DAVITA INC.,
2. KENT THIRY,

      Defendants


                                     INDICTMENT


      The Grand Jury charges that:

                                       COUNT 1
                Conspiracy in Restraint of Trade to Allocate Employees
                              (Violation of 15 U.S.C. § 1)

      At times relevant to this Count:

      1.     Defendant DAVITA INC., formerly DAVITA HEALTHCARE PARTNERS

INC., (“DAVITA”) was a company organized and existing under the laws of Delaware

with its principal place of business in Denver, Colorado. DAVITA was also sometimes

referred to as “The Village” or “DVA.” DAVITA owned and operated outpatient medical

care facilities across the United States. DAVITA employed individuals to operate its

business at its headquarters location and at other locations across the United States.

      2.     Defendant KENT THIRY served as the Chief Executive Officer (“CEO”) of

DAVITA and the Chairman or Co-Chairman of the board of directors of DAVITA. THIRY

was also sometimes referred to as “KT.”

      3.     Surgical Care Affiliates, LLC was a company organized and existing under

the laws of Delaware with its principal places of business in Birmingham, Alabama and

                                            1
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 2 of 10




Deerfield, Illinois. SCAI Holdings, LLC was a company organized and existing under

the laws of Delaware, and was the successor entity to Surgical Care Affiliates, Inc.

Collectively, these entities did business as Surgical Care Affiliates (“SCA”). SCA owned

and operated outpatient medical care facilities across the United States and employed

individuals to operate its business at its headquarters locations and at other locations

across the United States.

       4.     Individual 1 served as the CEO of SCA.

       5.     Individual 2 was a senior-level executive of DAVITA.

       6.     DAVITA and SCA were competitors in the recruitment and retention of

senior-level employees.

       7.     Various companies and individuals, not made defendants in this Count,

participated as co-conspirators in the offenses charged herein and performed acts and

made statements in furtherance thereof.

       8.     Whenever in this Count reference is made to any act, deed, or transaction

of any company, the allegation means that the company engaged in the act, deed, or

transaction by or through its officers, directors, agents, employees, or other

representatives while they were actively engaged in the management, direction, control,

or transaction of its business or affairs.

       9.     Beginning at least as early as February 2012 and continuing until at least

as late as July 2017, the exact dates being unknown to the Grand Jury, in part in the

District of Colorado and elsewhere, DAVITA and THIRY entered into and engaged in a

conspiracy with SCA to suppress competition between them for the services of senior-

level employees by agreeing not to solicit each other’s senior-level employees. The



                                             2
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 3 of 10




conspiracy engaged in by DAVITA, THIRY, and their co-conspirators was a per se

unlawful, and thus unreasonable, restraint of interstate trade and commerce in violation

of Section 1 of the Sherman Act (15 U.S.C. § 1).

      10.      The charged conspiracy consisted of a continuing agreement,

understanding, and concert of action among DAVITA, THIRY, and their co-conspirators,

the substantial terms of which were that DAVITA and SCA would allocate senior-level

employees by not soliciting each other’s senior-level employees across the United

States.

                     MEANS AND METHODS OF THE CONSPIRACY

      11.      For the purpose of forming and participating in the charged conspiracy,

DAVITA, THIRY, and their co-conspirators, among other things, did the following:

            (a) participated in meetings, conversations, and communications with co-

               conspirators to discuss the solicitation of senior-level employees of

               DAVITA and SCA, including specific senior-level employees of DAVITA

               and SCA—for example, on or about October 20, 2014, THIRY emailed

               Individual 1 that “Someone called me to suggest they reach out to your

               senior biz dev guy for our corresponding spot. I explained I do not do

               proactive recruiting into your ranks.”;

            (b) agreed during those meetings, conversations, and communications not to

               solicit each other’s senior-level employees;

            (c) instructed certain executives, employees, and recruiters not to solicit

               senior-level employees of each other’s companies—for example, on or

               about December 12, 2015, SCA’s human resources executive emailed a



                                              3
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 4 of 10




           recruiter stating that “note that [Company A, another competitor of SCA]

           and Davita are off limits to SCA.”;

        (d) monitored compliance with the agreement not to solicit employees by

           requiring senior-level employees of DAVITA and SCA who applied to the

           other company to notify their current employer that they were seeking

           other employment in order for their applications to be considered—for

           example, on or about October 16, 2015, Individual 1 emailed SCA’s

           human resources executive: “Putting two companies in italics ([Company

           A] and DaVita) — we can recruit junior people (below Director), but our

           agreement is that we would only speak with senior executives if they have

           told their boss already that they want to leave and are looking.”;

        (e) informed senior-level employees of DAVITA and SCA who were

           candidates for employment at the other company that they were required

           to provide such notice to their current employer—for example, on or about

           April 26, 2016, SCA’s human resources executive emailed a candidate

           from DAVITA who was based in Dallas, Texas, that she could not recruit

           from DAVITA “unless candidates have been given explicit permission by

           their employers that they can be considered for employment with us.”;

        (f) alerted co-conspirators about instances of recruitment of employees of

           DAVITA and SCA and took steps to remedy violations of the agreement—

           for example, on or about June 13, 2016, an employee of SCA relayed a

           recruitment noting that “I thought there was a gentlemen’s agreement

           between us and DaVita re: poaching talent.” An executive for SCA replied



                                          4
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 5 of 10




                “There is. Do you mind if I share with [Individual 1], who has most recently

                addressed with Kent.” Individual 1 relayed the instance of recruitment to

                THIRY who replied “Will check it out.” On or about July 10, 2016, THIRY

                forwarded the communication from Individual 1 to Individual 2,

                commenting: “Pls put in our next agenda”; and

             (g) refrained from soliciting each other’s senior-level employees—for

                example, on or about April 7, 2017, Individual 1 was contacted by a

                consultant regarding his interest in a candidate employed by DAVITA, and

                Individual 1 responded: “In order to pursue [candidate], he would need to

                have already communicated that he is planning to leave DaVita – that’s

                the relationship that we have with DaVita.” The consultant responded,

                “… I’m glad you arrived at that agreement with KT.”

                                 TRADE AND COMMERCE

       12.      The business activities of DAVITA, THIRY, and their co-conspirators that

are the subject of this Count were within the flow of, and substantially affected,

interstate trade and commerce. For example:

             (a) DAVITA and SCA employed senior-level employees in various states

                across the United States; and

             (b) the conspiracy would restrict the interstate movement of senior-level

                employees between DAVITA and SCA.



       ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.




                                                5
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 6 of 10




                                        COUNT 2
                 Conspiracy in Restraint of Trade to Allocate Employees
                               (Violation of 15 U.S.C. § 1)

       At times relevant to this Count:

       13.    Paragraphs 1, 2, 7, and 8 are realleged and incorporated herein.

       14.    Company B was a company organized and existing under the laws of

Delaware with its principal place of business in San Francisco, California. Company B

was a healthcare company that operated across the United States and employed

individuals to operate its business at its headquarters location.

       15.    Individual 3 served as the CEO of Company B.

       16.    DAVITA and Company B were competitors in the recruitment and

retention of employees.

       17.    Beginning at least as early as April 2017 and continuing until at least as

late as June 2019, the exact dates being unknown to the Grand Jury, in part in the

District of Colorado and elsewhere, DAVITA and THIRY entered into and engaged in a

conspiracy with Company B to suppress competition between them for the services of

employees by agreeing that Company B would not solicit DAVITA’s employees. The

conspiracy engaged in by DAVITA, THIRY, and their co-conspirators was a per se

unlawful, and thus unreasonable, restraint of interstate trade and commerce in violation

of Section 1 of the Sherman Act (15 U.S.C. § 1).

       18.    The charged conspiracy consisted of a continuing agreement,

understanding, and concert of action among DAVITA, THIRY, and their co-conspirators,

the substantial terms of which were that DAVITA and Company B would allocate

employees by Company B’s not soliciting DAVITA’s employees.


                                             6
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 7 of 10




                    MEANS AND METHODS OF THE CONSPIRACY

      19.      For the purpose of forming and participating in the charged conspiracy,

DAVITA, THIRY, and their co-conspirators, among other things, did the following:

            (a) participated in meetings, conversations, and communications with co-

               conspirators to discuss the solicitation of employees of DAVITA by

               Company B;

            (b) agreed during those meetings, conversations, and communications that

               Company B would not solicit DAVITA employees—for example, on or

               about April 16, 2017, Individual 3 emailed THIRY that “You also have my

               commitment we discussed that I'm going to make sure everyone on my

               team knows to steer clear of anyone at DVA and that I'll come back to you

               and talk before ever get anywhere near a point that could contemplate

               someone else.”;

            (c) reassured each other of compliance with the agreement that Company B

               would not solicit employees of DAVITA—for example, on or about

               February 22, 2018, Individual 3 emailed THIRY: “I took our conversations

               last year to heart around how it felt to you/DVA when [DAVITA employee]

               left—our relationship matters far more to me than any potential addition to

               our team. Although there have been 4 people that have reached out over

               the past year to probe about opportunities, I have not pursued those

               conversations (always being clear that it was about not having a clear

               need which was accurate to some extent).”;




                                             7
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 8 of 10




        (d) monitored compliance with the agreement that Company B would not

           solicit employees from DAVITA by requiring employees of DAVITA who

           reached out to Company B to notify DAVITA that they were seeking other

           employment in order to be considered by Company B;

        (e) informed employees of DAVITA who were candidates for employment at

           Company B that they were required to provide such notice to DAVITA—for

           example, on or about February 22, 2018, Individual 3 emailed THIRY

           about a current DAVITA employee: “We do happen to have openings in

           her area and they could be a good fit. However, I told her that given my

           relationship with the Village, I would only discuss with her if she told her

           manager explicitly that she would like to talk to me about a role and that I

           would talk to you about it before I would discuss with her (I framed it in a

           positive way about me making sure I'm doing the right thing as someone

           who cares about the Village and an investor in Village as well).”; and

        (f) refrained from soliciting DAVITA employees—for example, on or about

           July 20, 2017, Individual 3 texted a former DAVITA employee: “Also

           please let me know if you think of any great folks (nobody currently at

           DaVita) that would be worth talking to.” And on or about April 20, 2017,

           Individual 3 texted a former colleague for recommendations for customer

           service employees and, referring to a DAVITA-owned pharmacy company,

           stated “But nobody at Rx today. Promised Kent!”




                                          8
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 9 of 10




                                 TRADE AND COMMERCE

       20.      The business activities of DAVITA, THIRY, and their co-conspirators that

are the subject of this Count were within the flow of, and substantially affected,

interstate trade and commerce. For example:

             (a) DAVITA and Company B employed employees in various states across

                the United States; and

             (b) the conspiracy would restrict the interstate movement of employees

                between DAVITA and Company B.



       ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE, SECTION 1.



                                           A TRUE BILL


                                           Ink signature on file in Clerk’s Office
                                           FOREPERSON




                                             9
Case 1:21-cr-00229-RBJ Document 1 Filed 07/14/21 USDC Colorado Page 10 of 10




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                                         10
